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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                Case No. 18-cv-61929-BLOOM/Valle

 MELINA ASHLEY IFILL

           Plaintiff,
 v.

 EUROPEAN WAX
 CENTER, INC.,

       Defendant.
 _________________________/

  OMNIBUS ORDER ON MOTIONS TO DISMISS SECOND AMENDED COMPLAINT

           THIS CAUSE is before the Court upon two Motions to Dismiss filed by Defendant

 European Wax Center, Inc.’s (“European Wax Center”) and Defendant EWC Hollywood, LLC

 (“EWC”) (together, “Defendants”), ECF Nos. [39], [44] (the “Motions”). Plaintiff Melina Ashley

 Ifill (“Plaintiff” or “Ifill”), who is proceeding pro se, filed responses, ECF No. [40], [45]. The

 Court has carefully considered the Motions, all opposing and supporting submissions, the record

 in this case and the applicable law, and is otherwise fully advised. For the reasons set forth below,

 the Motions are granted.

      I.       FACTUAL AND PROCEDURAL BACKGROUND

           Plaintiff initially filed this case on August 17, 2018, ECF No. [1] (“Complaint”), asserting

 federal jurisdiction arising under Title VII, the Americans with Disabilities Act, the Genetic

 Information Nondiscrimination Act, or the Age Discrimination in Employment Act. The Court

 dismissed the Complaint without prejudice, finding that Plaintiff failed to set forth any facts

 regarding the nature of her claim. Thereafter, Plaintiff filed an Amended Complaint, ECF No. [6],

 stating the same basis for the Court’s jurisdiction and specifying that her claims are for sex and
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 pregnancy discrimination based on “[w]rongful termination violating, the American with

 Disability Act under Employment Laws . . . .” ECF No. [6] at 4. In support of her claims, Plaintiff

 alleged that she was discriminated against as a result of her pregnancy and ultimately terminated

 from her position by an individual named Trudy Bursztein. Thereafter, Plaintiff filed a charge of

 discrimination with the U.S. Equal Employment Opportunity Commission (“EEOC”), contending

 that she was discriminated on the basis of sex and pregnancy. The EEOC issued a right to sue

 letter on July 16, 2018.

        Defendant European Wax Center sought dismissal of the Amended Complaint under Rule

 12(b)(6) for failure to state a claim, failure to exhaust administrative remedies, and asserting that

 European Wax Center was not Plaintiff’s employer. See ECF No. [18]. The Court granted

 European Wax Center’s request in part, finding that Plaintiff had not adequately alleged that

 European Wax Center was her employer, and that the Amended Complaint did not contain

 sufficient factual allegations to give rise to plausible claims of either pregnancy discrimination or

 retaliation. Accordingly, the Court dismissed the Amended Complaint without prejudice and with

 leave to amend. See ECF No. [32] (“Order”). The Court also advised Plaintiff that the failure to

 cure the deficiencies outlined in the Order might result in dismissal with prejudice. Id. at 7.

        Plaintiff filed her Second Amended Complaint, ECF No. [38] (“SAC”), on February 25,

 2019. In support of her claims, Plaintiff alleges that she was employed by EWC, which Plaintiff

 has now also added as a Defendant in this case. See ECF No. [38]. Plaintiff further alleges that

 European Wax Center, as the corporate franchisor, held a significant amount of control over hiring

 processing, training franchise employees, the daily operations of franchise locations, scheduling

 guests for each location, and providing anti-discrimination training. Id. ¶ 1. In addition, Plaintiff

 alleges that she was scheduled by European Wax Center to train with a corporate trainer and that




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 all associates were required to comply with corporate policies and procedures. Id. ¶ 2. Plaintiff

 was granted access to an online social community available and accessible to all European Wax

 Center employees, whether corporate or franchisee-employed. Id. ¶ 3. According to Plaintiff,

 European Wax Center also managed daily operations for all locations because European Wax

 Center’s Guest Relation Center, which was not operated by EWC, would schedule appointments

 for Plaintiff to service. Id. ¶ 4. As a result, Plaintiff was under the impression that although she

 was employed by EWC, European Wax Center also had employment responsibility. Id. ¶ 6.

           Plaintiff received a pay raise after two months of employment, and thereafter informed Ms.

 Bursztein about her pregnancy. Id. ¶¶ 7-8. According to Plaintiff, Ms. Bursztein immediately

 began to discriminate against her, stating that Plaintiff looked tired and appeared to have less

 energy, and requesting that Plaintiff reduce her weekly hours. Id. ¶ 8. Ms. Bursztein also disclosed

 Plaintiff’s pregnancy in front of the entire staff. Id. ¶ 9. Thereafter, Ms. Bursztein approached

 several associates, including Plaintiff, about increasing daily sales and then terminated Plaintiff

 for allegedly decreased sales when Plaintiff’s service and retail sales had in fact improved. Id.

 ¶ 10. As a result, Plaintiff asserts a claim for wrongful termination based upon pregnancy

 discrimination in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et seq.

 (“Title VII”). 1

           Defendants seek dismissal of the SAC for failure to state a claim under Rule 12(b)(6) of

 the Federal Rules of Civil Procedure.

     II.      LEGAL STANDARD

           A pleading in a civil action must contain “a short and plain statement of the claim showing


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  Despite the Court’s noting in the Order that the Amended Complaint did not comply with Rule 10 of the
 Federal Rules of Civil Procedure in that it was not clear what claims Plaintiff was asserting, Plaintiff again
 has not set out her claims in separate counts in the SAC. Upon the Court’s reading of the SAC, Plaintiff
 appears to be asserting one claim only under Title VII for pregnancy discrimination.


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 that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). Although a complaint “does not need

 detailed factual allegations,” it must provide “more than labels and conclusions, and a formulaic

 recitation of the elements of a cause of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S.

 544, 555 (2007); see Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (explaining that Rule 8(a)(2)’s

 pleading standard “demands more than an unadorned, the-defendant-unlawfully-harmed-me

 accusation”).   Nor can a complaint rest on “‘naked assertion[s]’ devoid of ‘further factual

 enhancement.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 557 (alteration in original)).

 “[A] complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief

 that is plausible on its face.’” Id. (quoting Twombly, 550 U.S. at 570).

         When reviewing a motion to dismiss, a court, as a general rule, must accept the plaintiff’s

 allegations as true and evaluate all plausible inferences derived from those facts in favor of the

 plaintiff. See Chaparro v. Carnival Corp., 693 F.3d 1333, 1337 (11th Cir. 2012); Miccosukee

 Tribe of Indians of Fla. v. S. Everglades Restoration Alliance, 304 F.3d 1076, 1084 (11th Cir.

 2002); AXA Equitable Life Ins. Co. v. Infinity Fin. Grp., LLC, 608 F. Supp. 2d 1349, 1353 (S.D.

 Fla. 2009) (“On a motion to dismiss, the complaint is construed in the light most favorable to the

 non-moving party, and all facts alleged by the non-moving party are accepted as true.”); Iqbal, 556

 U.S. at 678. A court considering a Rule 12(b) motion is generally limited to the facts contained in

 the complaint and attached exhibits, including documents referred to in the complaint that are

 central to the claim. Wilchombe v. TeeVee Toons, Inc., 555 F.3d 949, 959 (11th Cir. 2009); see

 Maxcess, Inc. v. Lucent Techs., Inc., 433 F.3d 1337, 1340 (11th Cir. 2005) (“[A] document outside

 the four corners of the complaint may still be considered if it is central to the plaintiff’s claims and

 is undisputed in terms of authenticity.”) (citing Horsley v. Feldt, 304 F.3d 1125, 1135 (11th Cir.

 2002)). Although the court is required to accept as true all allegations contained in the complaint,




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 courts “are not bound to accept as true a legal conclusion couched as a factual allegation.”

 Twombly, 550 U.S. at 555; Iqbal, 556 U.S. at 678.

           In addition, courts must liberally construe pleadings submitted by a pro se litigant.

 Jarzynka v. St. Thomas Univ. of Law, 310 F. Supp 2d 1256, 1264 (S.D. Fla. 2004).

 Notwithstanding such leniency, courts cannot serve as de facto counsel for a party and cannot

 rewrite a deficient pleading for the sake of sustaining an action. Id. (quoting GJR Invs., Inc. v.

 Cty. of Escambia, Fla., 132 F. 3d 1359, 1369 (11th Cir. 1998), overruled in part on other grounds

 by Randall v. Scott, 610 F.3d 701, 709 (11th Cir. 2010)). That is, “[t]he Court cannot simply ‘fill

 in the blanks’ to infer a claim.” Grady v. Ga. Dep’t of Corr., No. CV409-103, 2010 WL 322881,

 at *2 (S.D. Ga. Jan. 27, 2010). In determining whether a pro se litigant has stated a claim, “the

 court ought not penalize the litigant for linguistic imprecision in the more plausible allegations”

 while keeping in mind that “wildly implausible allegations in the complaint should not be taken to

 be true.” Miller v. Donald, 541 F.3d 1091, 1100 (11th Cir. 2008).

    III.      ANALYSIS

           European Wax Center argues that the SAC should be dismissed with prejudice because

 Plaintiff concedes that European Wax Center was not her employer, and the SAC fails to state a

 plausible claim based upon joint employer liability. In addition, European Wax Center argues that

 Plaintiff again fails to allege the essential elements of a pregnancy discrimination claim. EWC

 argues that the SAC should be dismissed with prejudice because EWC is not an “employer” subject

 to Title VII, EWC and European Wax Center were not joint employers, and Plaintiff fails to state

 a claim for pregnancy discrimination. In her response to European Wax Center’s Motion, Plaintiff

 did not address the substance to European Wax Center’s arguments. In her response to EWC’s

 Motion, Plaintiff asserts that Ms. Bursztein, a non-party in this case, owned three separate




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 franchise locations and that EWC should therefore be considered an “employer” under Title VII,

 Defendants were joint employers, and that Defendants have not provided any legitimate reasons

 for Plaintiff’s termination. Upon review, the Court determines that Plaintiff has not alleged

 sufficient facts to state a plausible claim for pregnancy discrimination, nor has Plaintiff cured the

 deficiencies noted in the Court’s prior Order.

         Title VII makes it unlawful for an employer “to fail or refuse to hire or to discharge any

 individual, or otherwise to discriminate against any individual with respect to his compensation,

 terms, conditions, or privileges of employment, because of such individual’s race, color, religion,

 sex, or national origin.” 42 U.S.C. § 2000e-2(a)(1). As amended by the Pregnancy Discrimination

 Act of 1978, Title VII includes “pregnancy, childbirth, or related medical conditions” in its

 proscription on discrimination “because of sex.” See 42 U.S.C. § 2000e(k). 2 As the Court set out

 in its prior Order, in order to state a claim for pregnancy discrimination, a plaintiff must allege that

 “(1) she is a member of a protected class; (2) she was subjected to adverse employment action; (3)

 her employer treated similarly situated employees [not belonging to the class] more favorably; and

 (4) she was qualified to do the job.” McCann v. Tillman, 526 F.3d 1370, 1373 (11th Cir. 2008)

 (citing EEOC v. Joe’s Stone Crab, Inc., 220 F.3d 1263, 1286 (11th Cir. 2000)).

         Even assuming that Defendants were Plaintiff’s employers, upon review, Plaintiff fails to

 plead the third element of her claim – that her employer treated similarly situated employees more

 favorably. To establish the disparate treatment element of a prima facie case, a plaintiff may point

 to a similarly situated comparator who was not discriminated against. Wilson v. B/E Aerospace,



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   The examination of a discrimination claim predicated upon sex, including pregnancy, and that predicated
 upon any other discrimination is the same. See Armstrong v. Flowers Hosp., Inc., 33 F.3d 1308, 1312 (11th
 Cir. 1994) (“Rather than introducing new substantive provisions protecting the rights of pregnant women,
 the PDA brought discrimination on the basis of pregnancy within the existing statutory framework
 prohibiting sex-based discrimination.”).


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 Inc., 376 F.3d 1079, 1091 (11th Cir. 2004). To establish disparate treatment in this way, “a plaintiff

 asserting an intentional-discrimination claim . . . must demonstrate that she and her proffered

 comparators were ‘similarly situated in all material respects.’” Lewis v. City of Union City, Ga.,

 918 F.3d 1213, 1218 (11th Cir. 2019). In this case, the only allegation regarding other employees

 is that Ms. Bursztein approached “several associates” including Plaintiff [about] ways to increase

 daily sales. ECF No. [38], ¶ 10. However, this allegation does not appear to be logically connected

 to Plaintiff’s claim for discrimination. The SAC contains no factual allegations regarding similarly

 situated employees or the way in which they were treated. Therefore, Plaintiff again fails to state

 a claim for pregnancy discrimination, and despite the Court’s analysis in its prior Order, the SAC

 fails to cure the noted pleading deficiencies. Thus, the Court does not consider Defendants’

 remaining arguments for dismissal.

        Defendants request that the dismissal be with prejudice as Plaintiff has been afforded two

 opportunities to amend but has failed to cure the identified deficiencies. The Court agrees. Rule

 15 of the Federal Rules of Civil Procedure, which governs amendments, states that “the court

 should freely give leave when justice so requires.” Fed. R. Civ. P. 15(a)(2). Even so, “[a] district

 court need not . . . allow an amendment (1) where there has been undue delay, bad faith, dilatory

 motive, or repeated failure to cure deficiencies by amendments previously allowed; (2) where

 allowing amendment would cause undue prejudice to the opposing party; or (3) where amendment

 would be futile.” Bryant v. Dupree, 252 F.3d 1161, 1163 (11th Cir. 2001). The Court’s Order

 alerted Plaintiff to the relevant pleading standards after previously determining that Plaintiff had

 failed to allege sufficient facts to give rise to a plausible claim for discrimination in the Amended

 Complaint. However, Plaintiff has failed to cure those deficiencies in the SAC. Moreover, the

 Court cautioned Plaintiff that such failure to cure may result in a dismissal with prejudice.




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    IV.       CONCLUSION

          Accordingly, it is ORDERED AND ADJUDGED that

          1. The Motions, ECF Nos. [39], [44], are GRANTED.

          2. The Second Amended Complaint, ECF No. [38], is DISMISSED WITH

              PREJUDICE.

          3. Any pending motions are DENIED AS MOOT and all deadlines are TERMINATED.

          4. The Clerk is directed to CLOSE this case.

          DONE AND ORDERED in Chambers at Miami, Florida, on May 3, 2019.




                                                         _________________________________
                                                         BETH BLOOM
                                                         UNITED STATES DISTRICT JUDGE
 Copies to:

 Counsel of Record

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